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                                                                                 2018 Apr-10 AM 01:29
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

DEBRA SUE GARDNER                )
    Plaintiff,                   )
vs.                              )
                                 )
COVENANT PLACE OF GARDENDALE, LP ) Case No.                      2:17-cv-00132
FADV BACKGROUND SERVICES CORP. )
  Defendants.                    )

                    JOINT STIPULATION OF DISMISSAL

      Plaintiff Debra Gardner and Defendant Covenant Place of Gardendale, by and
through undersigned counsel, hereby jointly stipulate to the dismissal, with
prejudice, of any and all claims and causes of action which have been asserted in the
above-styled action, with each party to bear her or its own costs.


                   Attorney for Debra Gardner:

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                         CERTIFICATE OF SERVICE



   I hereby certify that on April 8, 2018, a copy of the foregoing has been filed via
the CMECF filing system.

                                       /s/ Thomas C. Donald
                                       Thomas C. Donald
